Case:24-10075-SDB Doc#:474 Filed:08/31/24 Entered:08/31/24 10:23:30 Page:1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: )
)
RRG, INC. ) CHAPTER 11

) Case No. 24-10075-SDB
Debtor. )
)

CERTIFICATE OF SERVICE

The undersigned hereby certifies that he served all parties, with Docket Nos. 444, 447, and 449,
listed on Exhibit “A” and attached hereto, by U.S. Mail with proper postage affixed thereto, to the
addresses listed on Exhibit “A”.

This 31" day of August, 2024.

/s/ Nathan E. Huff

Nathan E. Huff
Ga. Bar No. 773611

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Cleary, West & Huff, LLP
1223 George C. Wilson Dr.
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Case:24-10075-SDB Doc#:474 Filed:08/31/24 Entered:08/31/24 10:23:30 Page:2 of 2

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CERTIFICATE OF SERVICE

The undersigned certifies that he filed the foregoing with the CM/ECF system to ensure service
on all parties who receive notice.
This 31% day of August, 2024.

/s/ Nathan E. Huff
Nathan E. Huff
Ga. Bar No. 773611

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